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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

    UNITED STATES OF AMERICA                       §
                                                   §
    v.                                             §       No. 4:20-CR-00142-SDJ-KPJ
                                                   §
    DANIEL AUSTIN DUNN                             §
       a/k/a Whiskey, Tango10                      §
       a/k/a Osama bin Drinkin                     §
       a/k/a @SirAustinOfDunn                      §

    DEFENDANT’S UNOPPOSED MOTION TO CONTINUE SENTENCING HEARING


         Defendant Daniel Austin Dunn, by and through his counsel, respectfully moves this Court

  for a continuance of the Sentencing Hearing set on 29 October 2021 to 15 November 2021. The

  government is not opposed to the request for a continuance.

                                         I.     Procedural History


         An indictment filed 11 June 2020 charged Defendant Dunn by criminal complaint with

  seven counts of violating 18 U.S.C. §875(c) and one count of violating 18 U.S.C. 922(g)(3). See

  Dkt. 9. On 21 December 2020, a Plea Agreement was filed in this case [Dkt. 80]. The Court

  scheduled the Sentencing Hearing for 22 July 2021. On 21 July 2021 Defendant was arrested ona

  warrant for violations of pretrial release. On 5 October 2021 Defendant appeared in Court for a

  amended change of plea hearing. The Court issued an electronic notice resetting the sentencing

  hearing to 29 October 2021 in Plano, Texas.

                                   II.        Reason for Continuance

           Defense counsel has a final pretrial conference scheduled on 29 October 2021 in the

  U.S. District Court for the Eastern District of Texas, Sherman Division for Hale v. Denton

  County 4:19-cv-003337-ALM. Additionally, counsel for defendant Dunn has several hearing set

  for the first two weeks of November. Defense counsel understands that due to the Court’s
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  schedule, the date of 15 November 2021 may not be available, and the Court may need to choose

  a different date for sentencing. If that is the case, the defense counsel has listed below their

  schedule for the months of November and December.

          Attorney Patrick McLain’s November and December schedule:
  15-22 October 2021 - Trial – State of Texas v. Chavira – Dallas, Texas
  29 October-5 November 2021 – Pretrial/Trial – Hale v. Denton County – Sherman Texas
  11-14 November 2021 – alumni board meeting Trial Lawyer’s College – Santa Fe, New Mexico
  19-24 November – Pretrial Hearing – U.S. V. Dial - Kaiserslautern, Germany
  29 November – 4 December – 41st wedding anniversary trip - Honolulu, Hawaii
  6-10 December 2021 – Trial – State of Texas v. John Conley – Weatherford, Txas
  11-18 December 2021 – Trial – Ramirez and Gonzales v. Killian - Amarillo, Texas


                                              III.    Conclusion

          For the reasons set forth above, Defendant Dunn, through his counsel, respectfully moves

  the Court for a continuance of the sentencing hearing from 29 October 2021 to 15 November

  2021, or such date thereafter available on the Court’s docket.


                                                           Respectfully Submitted,

                                                           /s/ Patrick J. McLain
                                                           ____________________________
                                                           Patrick J. McLain
                                                           Texas Bar No. 13737480
                                                           900 Jackson Street, Suite 635
                                                           Dallas, Texas 75202
                                                           Telephone: (214) 416-9100
                                                           Fax: (972) 502-9879
                                                           patrick@patrickjmclain.com



                                 CERTIFICATE OF CONFERENCE

        On 7 October 2021, Assistant United States Attorney Tracey Batson, on behalf of the
  government, stated that she would not oppose a continuance of the sentencing hearing.


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                                                           Respectfully Submitted,

                                                           /s/ Patrick J. McLain
                                                           ____________________________
                                                           Patrick J. McLain
                                                           Attorney for Defendant Dunn


                                    CERTIFICATE OF SERVICE

         I hereby certify that, on 7 October 2021, a true and exact copy of this Unopposed Motion to
  Continue Sentencing was served electronically upon Assistant United States Attorney Tracey
  Batson via the CM/ECF system.


                                                           /s/ Patrick J. McLain
                                                           ____________________________
                                                           Patrick J. McLain
                                                           Attorney for Defendant Dunn




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